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           EXHIBIT 1
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8/13/2018                                                             Gmail - Hill v. Warsewa



                                                                                       CO Stream Access <alexanderhoodlaw@gmail.com>



 Hill v. Warsewa
 CO Stream Access <alexanderhoodlaw@gmail.com>                                                                  Wed, Jul 25, 2018 at 11:21 AM
 To: Scott Steinbrecher <Scott.Steinbrecher@coag.gov>
 Cc: Fred Yarger <Fred.Yarger@coag.gov>

    Scott,

    August 7 is fine.

    FYI, to the extent CO intends to assert the 11th amendment defense, we are happy to stipulate to remand to state court.

    Best,

    Alex
    [Quoted text hidden]




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